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Stephen Block

 

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E-mail SMB512@aol.com - oe
WWW. gamblingexperiwitness, com

Professional
Experience — January 4996 - Present
Private Practice Consultant .
« Certified as an Expert Witness on Pathological Gambling -byU U.S, Senior
‘District Court Judge Jack B, Weinstein, U.S. District Court, EDNY 4
_# Assess, evaluate and provide treatment to probation and parole clients. |
* Prepare forensic reports and provide testimony in State and Federal,
Courts in gambling related cases

October 2003 ~ - February 2012
“SARE, Brooklyn, New York
Addiction Specialist
e Developed problem gambling program in an existing state licensed
substance abuse outpatient program

° Counsel problem and compulsive gamblers and substance abusers,
individually and In groups, ina community-based outpatient treatment
center.

« Participate in community outreach efforts to raise awareness about
addiction

December 1995 — present
Gamblers’ Treatment Center, Staten Island, New York
Counselor/Outreach and Education Specialist

e Counsel problem and compulsive gamblers and significant others,
individually and in groups, in a state-funded outpatient treatment program

* Provide education and prevention presentations to interested groups
including schools, professional organizations, community groups,
treatrnent programs, unions, employee assistance programs
Consulted on original RFP and program development in 1981
Conducted group at senior residence on compulsive behavior (alcohol,
drugs, garibling)

* Individual relapse prevention work with recovering MICA olients
Member, Medical Genter Outreach Commiltiee
Lecturer, Family Addiction Series, Bayley Seton Hospital

Professional Activities = EXHIBIT
Certified as an | Expert Witness on Pathological Gambling —- iy
by U.S, Senior District Court Judge Jack B. Weinstein,
U.S. District Court, Eastern District of New York

 

 
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Founding Member, Association of Problem Gambling Professionals,
New York State

Chairman, Gambling Curriculum Development Think Tank, NY State
Presenter at New York, New Jersey and national conferences ,

Member, State Assembly Task Force on Mental Health, appointed by
Assemblyman Peter Rivera, Chair of Mental Health Committee

- Certified as trainer and supervisor of New York Gambling Treatment

Counselor Certification Training -

intamational Problem Gambling Consultant ~ The Bahamas

Professional Memberships

Certification

Education

Awards

*

New York Council on Problem Gambling ~ Founder and President
National Council on Problem Garnbling
Compulsive Gambling Council of New Jersey

Association of Problem Gambling Professionals, N.J. — Vice President

CPGC — Credentialed Problem Gambling Counselor — N.Y. State OASAS
— Credential #2

ICGC-II — Internationally Certified Gambling Counselor - #162

B.A. in Sociology, Brooklyn College, 1968

CAG courses (250 hours) St. John’s University

Council On Compulsive Gambling Of N.J. — Hourglass Award ~ 2004

New York Council On Problem Gambling — Lifetine Treatment Counselor
Achievement Award — 2009

SAFE Foundation — Clinician of the Year Award — 2010
OASAS — Problem Gambling Counselor of the Year ~- 2013

National Council on Problem Gambling ~ Jeff Beck Recovery
Ambassador Award - 2022 .

 
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Assessment and Evaluation

The purpose of this report is to assess and evaluate the gambling history and behavior
of Ms. Karen Carter Peterson (dob: 11/01/1969).

Widely accepted gambling assessment tools and a narrative interview were utilized to
determine Ms, Peterson's pattern of gambling and whether a dlagnosis of Disordered
Gambling (DSM-5 312,31) could be applied to her.

Interview

The interviews with Ms. Peterson was conducted on March 11, 2022, at 2842 South
Ocean Boulevard, Palm Beach, FL 33480 and on July 21, 2022 at 425 Summer Street,

Boston, MA 02210. -

Qualifications of Evaluator

| have worked with problem gamblers for over 40 years, accumulating in excass of
35,000 clinical hours. For many years | worked at the Gamblers Treatment Center, an
outpatient program administered by St. Vincent's Medical Center and more recently by
Richmond University Medical Center in New York City. | also worked for the SAFE
Foundation, a privately operated, state licensed addiction treatment program in
Brooklyn, NY, where I developed the gambling treatment track. | am a founding member
and-cunrent President of the New York Council on Problem Gambling, an organization —
dedicated to raising public awareness about problem gambling acrogs New York
State. | have conducted seminars and présentations throughout the United States on
this issue and have trained other treatment professionals seeking certification. In
addition to working with voluntary clients, | continue to work with the Legal Aid Society,
Federal Defenders Office, New York State Department of Probation, Division of Parole,
and the United States Pretrial Services and United States Probation and Parole Division
_in the Eastern and Southern Districts of New York evaluating their clients. The
Honorable Jack B, Weinstein, Senior District Judge, Eastem District of New York, under
Rules 702, 703 Federal Rules of Evidence, acknowledged me as an expert witness
(U.S. v Liu) in November, 2003. | have testified anid submitted over 300 evaluations In
the Federal Districts of New York, New Jersey and Maryland as well as state courts in
New York and New Jersey. | am currently a consultant to the Problem Gambling
Awareness Commitiee in The Bahamas. | hold the following current credentials and
certifications:

Credientialed Problem Gambling Counselor (New York State OASAS Credential #2)
International Compulsive Gambling Counselor-Level II - #314)

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Gambling and Relevant Family History

Karen Carter Peterson (doh: 11/01/1969), currently residing at 2386 Valence Street,
New Orleans, LA 70115 is the middie child of three siblings. She has two sisters, Tara
Elizabeth (dob: BRBMBEIMM), and Eileen Teresa (dob: SRRERREAM). Her parents,
Kenneth and Gwendolyn Carter, were married for 53 years until his passing in 2018,
Ms. Peterson relates that her grandparents and other members of her extended farnily
were instrumental in her upbringing since her parents both had to work hard and long
‘hours to provide for the family. Certain core values were instilled in her during her
formative years. Her job was to work hard, be a good person, be honest, treat others -
lke you wanted to be treated, love God, pray and be of service, and not to: squander
opportunity. The family motto was “never give up.” . oe

   

 

Her parents made many sacrifices to keep Karen and her sister Tara in Catholic school.
They both worked several jobs, and even when her father was completing college and
law school, he worked part-time, Church was an important part of family life as was
community service. Karen remembers volunteering at church, engaging at the CYO and
the YMCA, and working with underprivileged kids every summer. Despite her parents’
insistence on hard work and getting good grades, Karen rebelled and she relates that
punishment often was the norm rather than the exception. She relates that her parents
didn’t mind pulling out the belt, so a whipping was part of the puriishment. Karen
‘became numb to punishment and she was not motivated to change.

Whille working with her father in the political organization, BOLD (Black Organization for
Leadership Development) that he co-founded, Karen discovered her interest in politics
and campaigning. Her initial foray into politics was knocking on doors to get out the
vote, doing mailings and working the phone banks. Her Dad was a major influence In
her life and her subsequent choice of becoming an attorney and pursing a political
career. :

Ms. Peterson's earliest recollection of gambling was.of her maternal grandmother's
gambling and interest in horseracing. Her father and his business associates also were
regular attendees at the Fairgrounds, the local horséracing track. Although she relates
that her Dad could gamble within his means and that it was never a problem for him, the
same could not be said about his associates. Karen remembers the card games at her
family’s home. Pitty Pat, Gin Rummy and Spades were the games of choice. At the age
of 16, on.a political junket to The Bahamas, she experienced the thrill of the casino for
the first time. As is often the case with first time gamblers, she won and In addition her
father's friend gave her some of his winnings, and she happily went shopping.

Her gambling continued throughout college and through her first marriage. Her husband
found out about her gambling and this was a contributing factor in their divorce.

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She relates that her husband went to his mother to borrow money to pay bills because
of her gambling, and that he was furious about her lying about the gambling and “it was
all downhill from there.” On a number of occasions Karen's parents bailed her out of her
gambling debt. She recognizes today that it was enabling behavior.on their part trying to
“protect their little girl from pain.” Of course, this did not stop her from continuing her
gambling behavior.

Ms. Peterson relates that her gambling at casinos In Mississippi and Louisiana was
mostly at slot machines, and occasionally blackjack and craps (dice games.) She recalls
using gamb ing to rit ate Bog ateig. ba, oS) ages —

  
 
 

  
 

samblers Anonymous beginning In 1997 and has been In and out of that program for
over 20 years. She started seeing a private therapist in 1997 and continued under his
care for approximately 10 years. There were also sessions with other therapists
throughout the past 20 years. . a

The death of her father Kenneth in 2018 was a tremendous logs for which gambling
acted as an escape and self-medication. These negative life events often exacerbate

gambling behavior. It certainly was the case for Ms. Peterson,

‘On.November 1, 2021 (her birthday), she entered CORE, The Center of Recovery, in
Shreveport, LA. It is a residential facility that provides gambling treatment and recovery.
It has been operating since 1999 and is recognized as one of the most effective —
gambling treatment programs in the United States. Karen completed treatment there
after 33 days. She has been abstinent from gambling since September 28, 2021. Karen
has continued her recovery by regularly attending Gamblers Anonymous meetings 5
days a week. [n addition, since her successful discharge for CORE, she has been a
member of the CORE Alumni Group, and on Fridays is the host of the meeting. She
also has individual therapy sessions with Matricia Green twice weekly and one group
therapy session weekly. Karen regularly attends church, engages in daily prayer and

meditation, and follows an exercise regimen.

Gambling is an Addiction

In 2013 The American Psychiatric Association (APA) formally recognized disordered
gambling as an addiction, grouping it together with substance use under the
classification “Substance-Related and Addictive Disorders’ in the Diagnostic and
Statistical Manual of Mental Disorders (DSM-5 372.1). This new classification followed
more than two decades of study and deliberation, representing a modification from
gambling’s prior classification as an impulse-control disorder. As an addiction,

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disordered gambling is now understood to be a physiological as well as psychological
condition with observable manifestations in the human brain chemistry. As the article
linked in footnote 1 explains, the biology and behavior of disardered gambling and
drug addiction are virtually identical, with clear patiems in the production of dopamine,
serotonin and other neurotransrnitters.

The APA based its decision on numerous recent studies in psychology, neuroscience, and
genetics demonstrating that gambling and drug addiction are far more similar than
previously realized. Research in the past two decades has dramatically improved
neuroscientists’ working model of how the brain changes as an addiction develops, In the
middle of our cranium, a series of circuits known as the reward system links various
scattered brain regions involved in memory, movement, pleasure and motivation, When
we engage in an activity that: keeps us alive or helps us pass on our genes, neurons in the
reward system squirt out a chemical messenger called dopamine, giving us a little wave of
‘satisfaction and encouraging us to make a habit of enjoying hearty meals and romps in the
sack, When stimulated by amphetamine, cocaine or other addictive drugs, the reward
system disperses up to 10 times more dopamine than usual.

Research to date has shown that pathological gamblers and drug addicts share many of
the same genetic predispositions for impulsivity and reward seeking. Just as substance
addicts require increasingly strong hits to get high, compulsive gamblers pursue ever
‘Tiskier ventures. Likewise, both drug addicts and problem gamblers endure symptoms of
‘withdrawal when separated from the chemical or thrill they desire. Anda few studies
‘suggest that some people are especially vulnerable to both drug addiction and compulsive
gambling because their reward circuitry is inherently underactive — which may partially
explain why they seek big thrills in the first placet

A number of studies, including a study from the Yale University School of Medicine
entitled Brain Activity in Pathological G. ambling, exemplify the compelling science of
gambling addiction, demonstrating brain changes through magnetic imaging that
correspond to the cycles of reward, gratification, and other human responses. 2 A
collection of such research has been compiled by the National Center for Responsible
Gambling and is linked in footnote 2, below. NSS |

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1 hitp://www.scientificamerican,com/artiole/how-the-brain-gots-addicted-to-gambling/

* hnitp://www.norp.org/sites/default/files/n loads/docs/nomographs/norgmonographéfinal pdf

      

 
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Ms. Peterson was assessed by me for Disordered Gambling utilizing the widely
accepted assessment tool.

The DSM-5 Disordered Gambling Assessment was administered to Ms. Peterson with
the following result. Ms. Peterson scored 9/9 where a score of 4+ would indicate a
diagnosis of Disordered Gambling (DSM-5 312 .31). The screening questions address
the nine diagnostic criteria indicated In the DSM-5 to confirm diagnosis of Disordered

Gambling.
The clinical indicators are:

1. Preoccupation: Is often preoccupied with gambling (e.g., having persistent
thoughis of reliving past gambling experiences, handicapping or planning the next
venture, thinking of ways to get money with which to gamble).

Tolerance: needs to gamble with increasing amounts of money in order to achieve
the desired excitement.

Repeated unsuccessful attempts to cut back or stop gambling,

Restlessness and initabitity when attempting to cut back or stop.

After losing money, often returns to get even (chasing behavior.

Lies to conceal extent of gambling.

Gambles when feeling distressed (e.9., helpless, guilty, arixious; depressed).

. Relies on others to provide tmoney to relieve a desperate financial situation Caused
by gambling.

9, Jeopardized or lost significant relationships, job or educational opportunities

because of gambling.

8

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Narrative support of Assessment

1. Preoccupation: Ms. Peterson spent many hours thinking about gambling,
participating in gambling and trying to come up with money to continue her gambling
activities. oo,

2. More and more money, time and energy were required to sustain her gambling
behavior. CO oe

_. 3, Ms. Peterson answered yes to this question. The self-medicating quality of her
gambling was a factor in this answer, She was fearful of stopping because gambling
was an escape from the trauma she experienced throughout her life. Many women
gamblers have a significant trauma history. Ms. Peterson made a number of
unsuccessful attempts to cut down or.stop gambling over the course of 20+ years.

4, Ms, Peterson's emotional state reflected her irritability when attempting to cut
back on her gambling. a

5. Chasing behavior is a unique feature of gambling addiction. Gamblers continue
to gamble to “get even” and to provide money for future wagers. This activity provided
an element of escape and excitement for Ms. Peterson. As her gambling progressed
and she started to lose heavily, she felt a need to get even and gamble even more. It
was no longer strictly enjoyable or exciting; there was a compulsion to win back her |
losses and continue to self-medicate. = oo
6. Ms. Peterson made every effort to conceal the extent of her gambling from
family, friends, and business associates, She would minimize the amount of betting.
She would borrow money and not be forthcoming about what it was intended for. Af
the end, of course, these efforts proved futile. Her friends and family weren't fooled.
They eventually knew it was for gambling.
7. Ms. Peterson gambled in part to escape the problems created by previous
gambling episodes. This paradoxical behavior is common with disordered gamblers.
They believe, irrationally, that gambling more can solve the problems of gambling. |

  
 

 

  

6. Ms, Peterson used her own assets to gamb and Wi en she was unable to
utilize her assets, she borrowed from friends and family to sustain her gambling
activities. .

9. Ms. Peterson has jeopardized her career, her reputation, and lost her assets

because of her gambling behavior.

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Assessment Conclusions:

of Disordered Gambling (DSM-5 312.31) with a specification of persistent and severe.
Persistent specifier |s indicated if gambler has experienced continuous symptoms to
meet diagnostic criteria for multiple years. She continued to gamble despite the .
consequences and the fear of disclosure of her activities, She has experienced impaired
judgment and diminished insight as a result of her gambling behavior. Disordered
gambling is classified as a behavioral addiction and Ms. Peterson's gambling history is
consistent with and Indicates an inability to controf her impulse to gamble. This lack of
conto sontributed significantly to her behavior and the negative consequences of

ar behavior. oO

The results of this assessment indicate that Ms. Peterson satisfies the DSM-5 diagnosis

Specifically, as. with addictive behaviors generally, Ms. Peterson engaged in a cycle of
rationalizations that enabled her to feed her addiction while blocking out the negative
consequences, The anxiety of risk is present, but managed and insufficient to overcome
the compulsion. Ongoing gambling treatment would identify such rationalizetions for
what they were and, in going forward for what they are — justifications to continue
gambling. Treatment permits one with disordered gambling to identify risks and make
positive choices, . moe ges eae

Current research indicates that addiction (including behavioral addiction, i.e., disordered
gambling) is a brain disease, The American Society of Addiction Medicine (ASAN) :
defines addiction as: eee

A primary, chronic disease of brain reward, motivation, memory and related circuitry.
Dysfunction in these circuits leads to characteristic biological, psychological, social and

spiritual manifestations. This is reflected in an individual pathologically pursuing reward

and/or relief by substance use and other behaviors.

Addiction is characterized by inability to consistently abstain, impairment in behavioral
control, craving, diminished recognition of significant problems with one’s behaviors and
interpersonal relationships, and a dysfunctional emotional response. Like other chronic
diseases, addiction often involves cycles of relapse and remission. Without traatment or
engagement in recovery activities, addiction Is progressive and can resuit in disability or

. premature death.

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Recommendations

Ms. Peterson would benefti from continued and uninterrupted professional treatment
and self-help meetings, Research has shown that the efficacy of positive treatment
outcomes is greatly Increased when such treatment is consistent, long termand =
completed. She has managed not to gamble for six months and Is attending Gamblers
Anonymous meetings while continuing with professional counseling. Ms. Peterson
Indicated that she Is motivated to engage in treatment and that she wants to make
positive changes in her life. Ongoing treatment greatly reduces the tisk of relapse. It is
important for disordered gamblers fo galn and maintain insight into the connections —
between their gambling behavior and the consequences of such behavior. This is best
accomplished in a treatment regimen combining psychotherapy, Gamblers Anonymous
meetings, and daily constructive engagement. Ms. Peterson would also benefit from _
psychological treatment to address the trauma issues in her history. Ms. Peterson has
also benefitted from the support of her family. In my experience, recovery efforts are
greatly enhanced by the supportive atmosphere provided by the family sefting. Any
change in the family dynamics would further compromise her recovery efforts.

In my professional opinion, based upon 35 years of experience in working with problem
gamblers, Ms. Peterson would best serve the public good by participating In either a
diversion program for disordered gamblers, or In a delayed prosecution. Based upon.
her-history and the present state of her recovery, the strong message she could provide
as. recovering disordered gambler would act as a deterrent for anyone to engage in
any inappropriate behavior associated with thelr gambling. The fact that she is willing to
make financial restitution, engage in treatment, and publicly acknowledge her
misconduct and life story is a strong indicator for a compassionate plan for diversion.

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